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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA
Vv. Case No: 6:20-MJ-1426

JOHN WESLEY MOBLEY, JR.

 

ORDER SETTING CONDITIONS OF RELEASE
Defendant is released as to this case only, on the following terms and conditions:

(1) Defendant must not violate any federal, state or local laws.

(2) Defendant shall not possess on Defendant's person, in Defendant's residence,
or in any vehicle Defendant occupies, any firearms, ammunition, destructive devices, or
other dangerous weapons.

(3) Defendant shall not abuse alcohol.

(4) Defendant shall not possess or use any narcotic drugs or other controlled
substances listed in 21 U.S.C. § 802, unless the same is prescribed for Defendant, in
writing, by someone licensed to practice medicine in the state of Florida.

(5) Except as otherwise provided in this Order, Defendant shall not travel outside
the geographic boundaries of the Middle District of Florida without prior leave of Court.

(6) Defendant shall surrender his/her passport and any passport cards or similar ©
documents issued for purposes of international travel, if any, to his/her lawyer, or the Clerk
of Court, within the first two business days following his/her release from custody.

(7) Defendant shall not apply for any documents that would permit Defendant to
travel beyond the boundaries of the state of Florida without prior leave of Court.

(8) Defendant must cooperate in the collection of a DNA sample if collection is
authorized by 42 U.S.C. § 14135a.

(9) Defendant must notify defense counsel, Pretrial Services (if Pretrial Services is
supervising Defendant), and the Clerk of Court within the first two business days following
any change in Defendant's residence address or telephone number.

(10) Defendant must appear at all Court proceedings in this case and surrender for
service of any sentence imposed as directed.

 
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(11) Defendant shall not communicate with, attempt to influence, intimidate, injure,
tamper with, or retaliate against any victim, witness, juror, Co-Defendant, informant, law
enforcement officer, or judicial officer in this case.

ADDITIONAL CONDITIONS OF RELEASE

To reasonably assure the appearance of the defendant and the safety of any
person and the community, Defendant’s release is subject to the following additional
conditions:

#* ietendanit shall be supervised by and comply with the directions given by Pretrial
Services.

- Defendant shall actively seek and maintain verifiable employment, or pursue
Defendant's education.

Defendant shall take all medicine prescribed for the treatment of mental health
issues in the amounts and at the times directed by Defendant's physicians.

Defendant shall participate in any substance abuse, and treatment as directed by
Pretrial Services, with the cost to be borne by Defendant, as determined by Pretrial
Services.

Defendant shall participate in any psychiatric or mental health assessment,
evaluation, and treatment as directed by Pretrial Services, with the cost to be borne by
Defendant, as determined by Pretrial Services.

Defendant shall submit to random drug testing by Pretrial Services.

Defendant's location shall be electronically monitored by Pretrial Services. Unless
specified below, Pretrial Services shall decide what location monitoring system to use to
monitor Defendant.

/ Defendant shall reside at fol’F Delcidge Avewue, A
Chticle 3BZBOY on wT MS, Lar ase

Defendant is placed on house arrest. This means Defendant is restricted to
Defendant's residence. Defendant may only leave Defendant's residence to meet with
counsel and appear in Court to defend this case; meet with experts retained by counsel to
defend this case; obtain medical care; and attend religious services.

Defendant is placed on a curfew. This means Defendant is restricted to Defendant's
residence every day from to

 

Defendant shall execute and deliver to the Clerk of Court, a bond in the amount of
$ that shall be forfeited to the United States in the event Defendant fails
to appear as required or fails to surrender as directed for service of any sentence imposed.

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Defendant's bond is unsecured.

Defendant's bond shall be secured by the following property:

 

Defendant's bond shall be co-signed by:

 

 

Defendant shall be placed into the custody of
who agrees to supervise Defendant to ensure compliance with all conditions of release
imposed by this Order and to immediately notify the United States Attorney's Office (407)
648-7500 and the Clerk of the Court (407) 835-4200 if Defendant violates any condition
of this Order.

 

Third Party Custodian

Defendant shall have no contact with anyone under the age of 18 except when
supervised by a responsible adult.

Defendant shall not possess or have access to any electronic device that is capable
of connecting to the internet. This includes but is not limited to any computer, smart phone,
or gaming console with internet capability.

Defendant shall not possess or have access to any medium capable of storing
information obtained from the internet including without limitation, any hard drive, flash
drive, cloud-based storage, compact disk, or floppy disk.

Defendant shall not possess or have access to any encrypted data, or any device
capable of encrypting data.

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ADVICE OF PENALTIES AND SANCTIONS TO THE DEFENDANT

A violation of any of the foregoing conditions of release may result in the
immediate issuance of a warrant for your arrest, a revocation of release, an order of
detention, and a prosecution for contempt of court and could result in a term of
imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an
additional sentence to a term of imprisonment of not more than ten years, if the
offense is a felony; or a term of imprisonment of not more than one year, if the
offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and
a $250,000 fine or both to obstruct a criminal investigation. It is a crime punishable
by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a
witness, victim or informant; to retaliate or attempt to retaliate against a witness,
victim or informant; or to intimidate or attempt to intimidate a witness, victim, juror,
informant or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.

If after release, you knowingly fail to appear as required by the conditions of
release, or to surrender for the service of sentence, you may be prosecuted for
failing to appear or surrender and additional punishment may be imposed. If you are
convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a
term of fifteen years or more, you shall be fined not more than $250,000 or
imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but
less than fifteen years, you shall be fined not more than $250,000 or
imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned
not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned
not more than one year, or both. ,

A term of imprisonment imposed for failure to appear or surrender shall be in
addition to the sentence for any other offense. In addition, a failure to appear may
result in the forfeiture of any bond posted.

 
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ACKNOWLEDGMENT OF DEFENDANT

| acknowledge that | am the defendant in this case and that | am aware of the
conditions of release. | promise to obey all conditions of release, to appear as directed,
and to surrender for Service any sentence imposed. | am aware of the penalties and

sanctions set forth above. = //
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f° V’ Signature of Defendant

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Address
Aniando, F. 3agi¢ 4or-7134-¢ 36%
City and State, Zip Code Phone

DIRECTIONS TO THE UNITED STATES MARSHAL

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The United States marshal is ORDERED to keep the defendant in custody

until notified by the Clerk or Judicial Officer that the defendant has posted

bond and/or complied with all other conditions for release. The defendant

shall be produced before the appropriate judicial officer at the time and

place specified, if still in custody.

Date: June 4, 2020 — 7 & f° )

THOMAS B. SMITH
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

Pretrial Services Office

United States Marshals Service
Assistant U.S. Attorney
Counsel of Record

 
